               Case 2:21-mj-05219-DUTY Document 1 Filed 11/15/21 Page 1 of 9 Page ID #:1
AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)                   ‫ ܆‬Original    ‫ ܆‬Duplicate Original

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   CLERK, U.S. DISTRICT COURT
                                          UNITED STATES DISTRICT COURT
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 CENTRAL DISTRICT OF CALIFORNIA
                                                                   for the                                           11/15/21
            '0
   BY: ___________________ DEPUTY
                                                        Central District of California                                 HC




 United States of America

                            v.
                                                                             Case No. PM
 Dean Edward Manes,

                            Defendant(s)


                                        CRIMINAL COMPLAINT BY TELEPHONE
                                       OR OTHER RELIABLE ELECTRONIC MEANS

           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date of April 24, 2021 in the county of Ventura in the Central District of California, the

defendant violated:

               Code Section                                                  Offense Description

               18 U.S.C. § 922(g)(1)                                         Felon in Possession of a Firearm and
                                                                             Ammunition

           This criminal complaint is based on these facts:

             Please see attached affidavit.

           _ Continued on the attached sheet.

                                                                                               /S/
                                                                                           Complainant’s signature

                                                                                  Merrilee Goodwin, FBI Special Agent
                                                                                            Printed name and title
 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.
                                    November 15, 2021
 Date:
                                                                                               Judge’s signature

 City and state: Los Angeles, California                                       Hon. Gail J. Standish, U.S. Magistrate Judge
                                                                                            Printed name and title

AUSA: El-Amamy x0552
 Case 2:21-mj-05219-DUTY Document 1 Filed 11/15/21 Page 2 of 9 Page ID #:2



                                AFFIDAVIT

I, Merrilee Goodwin, being duly sworn, declare and state as

follows:

                            I. INTRODUCTION

     1.      I am a Special Agent with the Federal Bureau of

Investigation (“FBI”).     I have been a Special Agent with the FBI

since 1998.    I am currently assigned to a Domestic Terrorism

Squad of the Los Angeles Field Office, where I primarily

investigate people who commit violent criminal acts in

furtherance of their political or social ideology, and

investigate threats associated with the nefarious use of

chemical, biological, radiological, nuclear, and explosive

materials.    In this capacity, I investigate federal crimes

pertaining to terrorism and have gained experience in cyber-

based matters including those involving dark web markets.           As a

result, I am familiar with the methods used by criminals in

furtherance of their criminal activities in both the virtual and

physical worlds, and I have received both formal and informal

training from the FBI and other institutions regarding cyber and

computer crime investigations and review of digital devices.            As

a Special Agent, I completed the FBI Academy in Quantico,

Virginia, and received training to include the fundamentals of

law, ethics, interviewing, report writing, firearms,

surveillance, defensive tactics, and case management.          I have

also received training regarding the methods of operations of

individuals who distribute drugs.
 Case 2:21-mj-05219-DUTY Document 1 Filed 11/15/21 Page 3 of 9 Page ID #:3



                       II. PURPOSE OF AFFIDAVIT

     2.      This affidavit is made in support of a criminal

complaint against, and arrest warrant for, Dean Edward MANES

(“MANES”) for violations of Title 18, United States Code,

Section 922(g)(1): Felon in Possession of a Firearm and

Ammunition (the “Subject Offense”).

     3.      The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

warrant and does not purport to set forth all of my knowledge of

or investigation into this matter.         Unless specifically

indicated otherwise, all conversations and statements described

in this affidavit are related in substance and in part only and

all dates are approximate.

                   III. STATEMENT OF PROBABLE CAUSE

     4.      Based on my review of a law enforcement report
prepared by Simi Valley Police Department (“SVPD”) Officer

Williamson, I am aware of the following:

             a.   On April 24, 2021, at approximately 8:59 a.m.,

law enforcement officers with SVPD reported to room 124 of the

Holiday Inn Express located at 2550 Erringer Road in Simi

Valley, California to assist bail agents who were attempting to

arrest MANES.     Prior to the arrival of SVPD officers, the bail

agents had broken the two front windows of the room and had




                                       2
 Case 2:21-mj-05219-DUTY Document 1 Filed 11/15/21 Page 4 of 9 Page ID #:4



discharged a pepper device into the room in their attempt to

arrest MANES.

           b.     Upon arrival, SVPD officers observed that MANES

was already detained by the bail agents and was seated

handcuffed in the bail agents’ vehicle.        Officer Williamson used

a SVPD Mobile Digital Terminal and determined that MANES had a

felony arrest warrant in Los Angeles County and was on Post

Release Community Supervision.      Bail agents informed SVPD

officers that they would book MANES at the Twin Towers

Correctional facility in Los Angeles County and that they

believed that the room contained weapons which they had not

recovered during the detention of MANES.

           c.     Two other individuals exited the room – K.C. and

T.P.   K.C. informed a SVPD officer that she had used her

identification and credit card to leave the room deposit and

check in to the room.     Officer Williamson asked K.C. and T.P. if

law enforcement officers could search the room, and K.C. and

T.P. gave consent to SVPD law enforcement officers to enter the

room and search it.

           d.     Upon entering the room, SVPD officers observed

numerous real and fake government identification materials, as

well as a laptop computer that was hooked up to a printer and

which was printing the credit rating score of an unknown

individual.     Officer Williamson also observed acetone and

numerous checks which were partially printed or blank, as well

as a large credit card embosser machine, blank credit cards, and




                                       3
 Case 2:21-mj-05219-DUTY Document 1 Filed 11/15/21 Page 5 of 9 Page ID #:5



electronic reception equipment which appeared to be used in the

counterfeiting or cloning of credit cards.

            e.   Under the mattress of a bed facing the north side

of the room, Officer Wismar located a Glock style “ghost gun”

without a serial number with a bullet in the chamber and a

loaded ammunition magazine inserted into the firearm.

            f.   Underneath the mattress of a bed facing the south

side of the room, Officer Williamson located a second black

colored Glock style “ghost gun” without a serial number with a

bullet in the chamber and a loaded ammunition magazine inserted

into the firearm.    He also located a shotgun in a case on a

shelf in the bathroom.     The shotgun barrel was sawed off and the

case contained shotgun ammunition, but the weapon was not

loaded.    Finally, he located four additional Glock style high-

capacity magazines and a pistol barrel in the room.

            g.   Both K.C. and T.P. denied ownership or possession

of the firearms and ammunition, the identification materials,

and the credit card cloning devices in the room.         K.C. said that

she only had clothes and drug paraphernalia in the room.           T.P.

said that he only had one blue bag in the room, which contained

clothes.

     5.     On June 2, 2021, I and FBI Task Force Officers

(“TFOs”) Guevarra and Morton interviewed MANES, who was in

custody at Men’s Central Jail in Los Angeles.         I read MANES an

Advice of Rights form and provided him with a written copy of

the form.    MANES signed the form and agreed to be interviewed




                                       4
 Case 2:21-mj-05219-DUTY Document 1 Filed 11/15/21 Page 6 of 9 Page ID #:6



by me and the TFOs.     I recorded the interview.      During the

interview, MANES stated the following:

           a.    He was arrested by bail agents while staying in

the hotel room on April 24, 2021.       When he opened the hotel room

door and saw a bail agent, he kicked the door closed.

           b.    The three firearms in the room belonged to him.

     6.    On October 7, 2021, Special Agent Tiffany Lamphere, a

Firearms and Ammunition Interstate Nexus Expert with the Bureau

of Alcohol, Tobacco, Firearms and Explosives, examined the

shotgun and ammunition that law enforcement officers seized from

MANES on April 24, 2021.     From her report, I learned that:

           a.    The Browning model A5 - Sweet Sixteen, 16-gauge

shotgun, bearing serial number 116ZR02282, was assembled in

Portugal by Browning Viana and imported into the United States

by the Browning Arms Company in Morgan, Utah.         The item is also

a “short-barreled shotgun” as defined by Title 18, United States

Code, Section 921(a)(6).

           b.    The seventeen rounds of 9mm Luger caliber

ammunition with the headstamps “FC” over “9MM LUGER” were

manufactured by Speer in Lewiston, Idaho.

           c.    The sixteen rounds of 9mm Luger caliber

ammunition with the headstamps “BLAZER” over “9mm LUGER” were

manufactured by CCI/Speer in Lewiston, Idaho or by the Federal

Cartridge Company in Anoka, Minnesota.

           d.    One round of 9mm Luger caliber ammunition with

the headstamp “WIN” over “9MM LUGER,” one round of 9mm Luger

caliber ammunition with the headstamp “WIN” over “9mm LUGER,”



                                       5
 Case 2:21-mj-05219-DUTY Document 1 Filed 11/15/21 Page 7 of 9 Page ID #:7



and one round of 9mm Luger caliber ammunition with the headstamp

“WIN” over “9mm LUGER+P” were manufactured by Winchester

Ammunition in East Alton, Illinois or in Oxford, Mississippi.

            e.   One round of 9mm Luger caliber ammunition with

the headstamp “R-P” over “9mm LUGER,” and one round of 9mm Luger

caliber ammunition with the headstamp “R-P” over “9mm Luger”

were manufactured by Remington Ammunition in Lonoke, Arkansas or

in Bridgeport, Connecticut.

            f.   The five rounds of 16-gauge shotgun shells with

headstamps “WINCHESTER” over “16 GA” (with “SUPER X 2 ¾ IN-1/8”

on the shell) were manufactured by Winchester Ammunition in East

Alton, Illinois or in Oxford, Mississippi.

     7.     I have reviewed certified conviction documents related

to some of the convictions that MANES has previously sustained.

I am aware that MANES has been convicted of at least one of the

following crimes punishable by imprisonment for a term exceeding

one year:

            a.   Felon in Possession of a Firearm, in violation of

California Penal Code Section 12021(a)(1), in the Superior Court

of the State of California, County of Los Angeles, Case Number

MA039010, on or about July 2, 2007; and

            b.   False Personation, in violation of California

Penal Code Section 530.5(c)(3), in the Superior Court of the

State of California, County of Los Angeles, Case Number

MA064345, on or about January 20, 2016.




                                       6
 Case 2:21-mj-05219-DUTY Document 1 Filed 11/15/21 Page 8 of 9 Page ID #:8



                             IV. CONCLUSION

     8.    For the reasons described above, I respectfully submit

there is probable cause to issue the requested criminal

complaint and arrest warrant.


Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
                   15 day of
telephone on this ____
November, 2021.



UNITED STATES MAGISTRATE JUDGE




                                       7
Case 2:21-mj-05219-DUTY Document 1 Filed 11/15/21 Page 9 of 9 Page ID #:9




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